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                         THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

 Zayo Group, LLC,                                §
                                                 §
                Plaintiff,                       §               CASE NO. 21-cv-72
                                                 §
 v.                                              §
                                                 §
 Megacable Holdings S.A.B. de C.V. d/b/a         §
 Megacable Comunicaciones; Telefonia por
 Cable, S.A. de C.V.
                                                 §                  Jury Demanded
                Defendant.                       §


                                PLAINTIFF’S COMPLAINT



       Plaintiff Zayo Group, LLC (“Zayo”) files this original Complaint against Defendants

Megacable Holdings S.A.B. de C.V. d/b/a Megacable Comunicaciones (“Megacable”), and

Telefonia por Cable, S.A. de C.V. (“Telefonia”), and respectfully shows the Court as follows:

                                         I.      Parties

       1.      Plaintiff Zayo is a Delaware limited liability company doing business in Texas.

       2.      Defendant Megacable is a Mexican corporation doing business in Texas.

Megacable does not maintain an office in the State of Texas and has no registered agent in the

State of Texas or the United States of America. Megacable’s principal place of business is located

at Corporativo Megacable, Avenida Lázaro Cárdenas Pte. 1694, Colonia Del Fresno, 44900

Guadalajara, Jal., Mexico.

       3.      Defendant Telefonia is a subsidiary of Megacable and is a Mexican corporation

doing business in Texas. Telefonia does not maintain an office in the State of Texas and has no

registered agent in the State of Texas or the United States of America. Its address is the same as



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Megacable’s address: Corporativo Megacable, Avenida Lázaro Cárdenas Pte. 1694, Colonia Del

Fresno, 44900 Guadalajara, Jal., Mexico.

        4.       Both the United States of America and Mexico are signatories to the Hague

Convention on the Service Abroad of Judicial and Extrajudicial Documents (“Hague

Convention”). Accordingly, Zayo will serve Megacable and Telefonia with the appropriate

summons in accordance with the Hague Convention. A Request For Service Abroad of Judicial

or Extrajudicial Documents along with a copy of this Complaint and Summons, together with a

translation of each into Spanish, the official language of Mexico, will be sent to Mexico’s Central

Authority at:

                 Ministry of Foreign Affairs
                 Directorate-General of Legal Affairs
                 Plaza Juárez No. 20, Planta Baja
                 Col. Centro, Alcaldía Cuauhtémoc
                 C.P. 06010 Ciudad de México
                 Mexico

In accordance with the Hague Convention, Mexico’s Central Authority will then transmit these

materials to Megacable and Telefonia.

                                  II.     Jurisdiction and Venue

        5.       This Court has subject matter jurisdiction under 28 U.S.C. § 1332 because the

parties are of diverse citizenship and the amount in controversy exceeds $75,000.

        6.       Venue is proper under 28 U.S.C. § 1391(b)(3), because there is no other judicial

district in which an action may otherwise be brought as provided in section 1391, and Megacable

and Telefonia are subject to this Court’s personal jurisdiction. Megacable and Telefonia have

sufficient minimum contacts with this district and have purposefully availed themselves of services

within this judicial district. Moreover, based on Megacable’s and Telefonia’s contacts with this

district, personal jurisdiction is reasonable.


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                                   III.    Factual Background

       7.      On or about May 30, 2018, Zayo and Telefonia entered into a Master Services

Agreement (the “MSA”). Paragraph 1.1 of the Agreement expressly incorporates any Service

Schedules and Service Orders. Paragraph 1.2 of the MSA explains that Telefonia may request

Zayo to provide a service pursuant to the MSA at any time by filling out a Service Order, which

then is accepted by Zayo. Paragraph 1.2 of the MSA further provides that the terms of the MSA

are incorporated into any such Service Order. Paragraph 1.1 of the MSA expressly incorporates

any Service Schedules and Service Orders.

       8.      Zayo and Telefonia entered into an Ethernet/IP Service Schedule (the “Schedule”)

on May 30, 2018. Section 5.2 of the Schedule require Telefonia to “at its sole cost and expense,

provide Zayo with access to all” its “locations for purposes of installation, maintenance, and repair

of” Zayo’s equipment.

       9.      The initial term of the MSA was five (5) years. Under Paragraph 3.1 of the MSA,

the MSA would automatically renew for one-year periods thereafter.

       10.     Zayo and Telefonia subsequently entered into an additional Service Order 1265863

on January 22, 2019 (“Service Order 1265863”). As part of Service Order 1265863, Zayo was to

provide 4x100G of IP to Megacable and Telefonia, requiring Zayo to build and connect fiber from

Nogales, Arizona to Sonora, Mexico. Megacable and Telefonia was then to extend their fibers

from this point to Megacable’s Sonora POP, Point of Presence, and provide space, power and

remote hands for Zayo’s Dense Wave Division Multiplexing (DWDM) equipment.

       11.     The MSA, Service Schedule, and Service Order are collectively referred to herein

as the “Agreement.”

       12.     On September 16, 2020, Zayo emailed Megacable a Service Activation Notice

regarding necessary steps by Megacable for the completion of services and reminding Megacable

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and Telefonia of their obligations pursuant to the Schedule. Despite this letter and the Agreement,

Megacable and Telefonia refused to allow Zayo to complete the installation of its services.

Additionally, Megacable and Telefonia ceased paying Zayo for the work completed as required by

the terms of the Agreement, despite receiving multiple invoices from Zayo.

       13.     On September 23, 2020, Megacable emailed Zayo a letter stating that it would not

recognize a “Service Activation Date” until the parties renegotiated the terms of the Service Order

1265863. Zayo and Megacable proceeded to enter into conversations regarding the existing

agreements between the parties and Megacable’s allegations of deficiencies.

       14.     On February 22, 2021, Megacable delivered a letter to Zayo regarding what it

believed to be unresolved issues, including an alleged different understanding of the “Remote

Hands” agreement referenced in Service Order 1265863. Zayo continued to attempt to discuss

these alleged issues with Megacable.

       15.     On March 5, 2021, Zayo notified Megacable and Telefonia that their account

currently carries a past due balance of $372,453.22 for services rendered under the Agreement and

that it considered Megacable and Telefonia in breach of the Agreement if this past due balance

was not paid within five days of receipt of the notice, pursuant to the Agreement’s terms. These

balances have not been paid to date.

       16.     On March 5, 2021, Megacable provided notice of termination of the Service Order

1265863. Megacable and Telefonia remain in breach of contract and has failed to cure its breach.

                                   IV.    Breach of Contract

       17.     Zayo incorporates by reference the allegations contained in the foregoing

paragraphs.

       18.     Megacable and Telefonia’s actions as described above constitute a material breach

of the Agreement.

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       19.     Specifically, Megacable and Telefonia breached the Agreement, including but not

limited to Section 5.1 of the Schedule, by failing to allow Zayo to enter its facility to complete the

installation related to Service Order 1265863. Moreover, Megacable and Telefonia breached the

Agreement, including but not limited to Sections 2.2 and 2.3 of the MSA and Section 3 of Service

Order 1265863, by failing and refusing to pay Zayo for services already rendered by Zayo under

the Agreement when due.

       20.     As a result of Megacable and Telefonia’s breaches and termination of Service Order

1265863, Megacable and Telefonia are obligated to pay Zayo early termination fees. Due to

Megacable and Tefonia’s unreasonable delays and lack of cooperation as required by the

agreements to complete the install, Zayo will proceed to treat Service Order 1265863 as completed

and Megacable and Telefonia are obligated to pay any related fees as if the project were completed

per the terms of the agreements.

       21.     As a proximate result of the aforementioned breaches by Megacable and Telefonia,

Zayo has been damaged in an amount in excess of the minimum jurisdictional limits of the Court,

for which Zayo now sues.

                                      V.      Attorney’s Fees

       22.     Zayo incorporates by reference the allegations contained in the foregoing

paragraphs.

       23.     Zayo has found it necessary to employ the services of the undersigned attorneys to

represent it and has agreed to pay reasonable fees and expenses incurred in prosecuting this matter.

Zayo seeks recovery of its attorney fees and costs incurred in prosecution of this matter against

Megacable and Telefonia under Paragraph 10.3 of the Agreement, Section 38.001 of the Texas

Civil Practice and Remedies Code, and under any other applicable provisions at law or equity, for

which it now sues.

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                                    VI.       Conditions Precedent

          24.    All conditions precedent to Zayo’s recovery have been performed or have occurred.

                                       VII.     Prayer for Relief

          25.    Zayo prays that on final hearing it has judgment against Megacable and Telefonia

for the following:

          (1)    Actual damages in an amount in excess of the minimum jurisdictional limits of

the Court;

          (2)    Reasonable and necessary attorney fees;

          (3)    Pre-judgment interest at the contract rate of 12% per annum or at the highest rate

allowed by law;

          (4)    Post-judgment interest at the rate of 5% per annum or at the highest rate allowed

by law;

          (5)    The award of all costs;

          (6)    All further relief to which it may be justly entitled.

Dated: March 22, 2021


                                                         Respectfully submitted,

                                                         /s/ Kathleen Pritchard
                                                         Kathleen Pritchard
                                                         State Bar No. 24098285
                                                         kathleen.pritchard@dgslaw.com
                                                         Tess Hand-Bender (Pro Hac Vice
                                                         Admission Pending)
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                                                         DAVIS GRAHAM & STUBBS LLP
                                                         1550 17th Street, Suite 500
                                                         Denver, CO 80202
                                                         Telephone:     303.892.9400
                                                         Facsimile:     303.893.1379

                                                         Attorney for Plaintiff Zayo Group, LLC

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 22nd day of March, 2021, I electronically filed the foregoing
with the Clerk of Court using the Court’s electronic filing system. To complete service on
Defendants Megacable Holdings S.A.B. de C.V. d/b/a Megacable Comunicaciones and Telefonia
por Cable, S.A. de C.V., a copy of the foregoing was sent via Federal Express mail to the following
addresses:
            1. Ministry of Foreign Affairs
               Directorate-General of Legal Affairs
               Plaza Juárez No. 20, Planta Baja
               Col. Centro, Alcaldía Cuauhtémoc
               C.P. 06010 Ciudad de México
               Mexico

            2. Hector Javier Villa Montanez
               Megacable Holdings S.A.B. de C.V.
               Av. Lazaro Cardenas 1694 Col del Fresno
               Guadalajara, 44900
               Mexico


                                                /s/ Kathleen Pritchard
